     Case 2:24-cr-00689-FLA   Document 1   Filed 11/15/24   Page 1 of 2 Page ID #:1



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 8                            UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              October 2024 Grand Jury

11   UNITED STATES OF AMERICA,                CR No. FU)/$

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [21 U.S.C. §§ 841(a)(1),
                                              (b)(1)(C): Distribution of
14   BENJAMIN ANTHONY COLLINS,                Protonitazene Resulting in Death]
        aka “BenzThaKidd,”
15
               Defendant.
16

17

18        The Grand Jury charges:
19                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
20        On or about April 19, 2024, in Los Angeles County, within the
21   Central District of California, defendant BENJAMIN ANTHONY COLLINS,
22   also known as “BenzThaKidd,” knowingly and intentionally distributed
23   //
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     Case 2:24-cr-00689-FLA   Document 1   Filed 11/15/24     Page 2 of 2 Page ID #:2



 1   Protonitazene, a Schedule I narcotic drug controlled substance, the

 2   use of which resulted in the death and serious bodily injury of B.J.

 3
                                                 A TRUE BILL
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 5
                                                 /S/
 6                                               Foreperson
 7
     E. MARTIN ESTRADA
 8   United States Attorney
 9   MACK E. JENKINS
     Assistant United States Attorney
10   Chief, Criminal Division
11

12
     SCOTT M. GARRINGER
13   Assistant United States Attorney
     Deputy Chief, Criminal Division
14
     FRANCES S. LEWIS
15   Assistant United States Attorney
     Chief, General Crimes Section
16
     BENEDETTO L. BALDING
17
     Assistant United States Attorney
18   Deputy Chief, General Crimes
      Section
19
     LISA J. LINDHORST
20   Assistant United States Attorney
     General Crimes Section
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